                           DECISION OF DISMISSAL
This matter is before the court on its own motion to dismiss this case for want of prosecution.
A case management conference was scheduled on August 25, 2009, to consider Plaintiffs' appeal. On July 6, 2009, notice of the case management conference was sent to Plaintiffs at 23310 Brier Road, Brier, WA 98036, which was the address Plaintiffs provided to the court. The notice was not returned as undeliverable. Plaintiffs did not appear at the case management conference, and there was no explanation for Plaintiffs' failure to appear.
On August 25, 2009, the court sent Plaintiffs a letter, which explained the importance of diligently pursuing an appeal. That letter was not returned as undeliverable. The letter advised that if Plaintiffs did not provide a written explanation by September 8, 2009, for their failure to appear, the court would dismiss the appeal. As of this date, Plaintiffs have not contacted the court. Under such circumstances, the court finds the appeal must be dismissed for want of prosecution. Now, therefore, *Page 2 
IT IS THE DECISION OF THIS COURT that the matter is dismissed.
Dated this ___ day of September 2009.
If you want to appeal this Decision, file a Complaint in the RegularDivision of the Oregon Tax Court, by mailing to: 1163 State Street,Salem, OR 97301-2563; or by hand delivery to: Fourth Floor, 1241 StateStreet, Salem, OR.
 Your Complaint must be submitted within 60 days after the date of theDecision or this Decision becomes final and cannot be changed.
 This document was signed by Magistrate Jeffrey S. Mattson on September17, 2009. The Court filed and entered this document on September 17,2009. *Page 1 